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                                                                     Certificate Number: RC-18-12822



        BUTTERFLY FINANCIAL EDUCATION, INC.
             CERTIFICATE OF CREDIT
                 COUNSELING
                                                 RANDY COLEY



  I CERTIFY that on April 30, 2018, at 10:43 AM Eastern Standard Time, RANDY
  COLEY received from Butterfly Financial Education, Inc., an agency approved
  pursuant to 11 U.S.C. § 111 to provide credit counseling in the North Carolina,
  Eastern District, an individual briefing (including a briefing conducted by
  telephone or on the internet) that complied with the provisions of 11 U.S.C. §
  109(h) and 111. A debt repayment plan was not prepared.




                          Name:                                  Janet L. Swope


                          Title:                                     President


                          Date:                                  April 30, 2018




  *Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy Code are required to file

  with the United States Bankruptcy Court a completed certificate of counseling from the nonprofit budget and counseling

  agency that provided the individual the counseling services and a copy of the debt repayment plan, if any, developed

  through the credit counseling agency. See 11 U.S.C. § 109(h) and 521(b).
